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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                         3:23-CR-125

                   v.                            (Judge Mannion)

FRANK TASSIELLO

                                    ORDER

       The Court having considered Defendant's Unopposed Motion to Continue

Sentencing Hearing does hereby GRANT said Motion.

       IT IS HEREBY ORDERED this _/~ -~ ay of         ~            , 2024 that

Defendants Motion is hereby GRANTED, and Defendant's Sentencing Hearing

shall be rescheduled to the ;r)"I'-- day of_.~__.__
                                             . . . _ _ _ _ _ _ _, 2024, at

,:; :J::>   .I- .m. in Courtroom No. ~   at the William J. Nealon Federal Bldg.

& United States Courthouse, 235 N. Washington Ave. Scranton, PA 18501.




                                          Ma ac     . Mannion
                                          United S ates District Judge
